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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  NORFOLK DIVISION

  THE COLEMAN COMPANY, INC.,                        §
                                                    §
  Plaintiff/Counterclaim Defendant,                 §
                                                    §
         v.                                         §
                                                    §          Civil Action No. 2:20-cv-351-RGD
  TEAM WORLDWIDE CORPORATION,                       §
                                                    §            JURY TRIAL DEMANDED
  Defendant/Counterclaim Plaintiff                  §
                                                    §
  and                                               §
                                                    §
  CHENG-CHUNG WANG,                                 §
                                                    §
  Counterclaim Plaintiff.                           §



      MEMORANDUM IN SUPPORT OF TEAM WORLDWIDE CORPORATION’S
     MOTION TO EXCLUDE AND STRIKE CERTAIN OPINIONS OFFERED BY DR.
                 WILLIAM SINGHOSE AND MR. GARY OLSEN
         Defendant Team Worldwide Corporation (“TWW”), by and through its undersigned

  counsel, submits the following as its Memorandum in Support of TWW’s Motion to Exclude and

  Strike Certain Opinions offered by Dr. William Singhose and Mr. Gary Olsen.

    I.   INTRODUCTION

         TWW respectfully requests the Court to exclude and strike the expert testimony of Dr.

  William Singhose, related to infringement of U.S. Patent No. 7,089,618 (“the ’618 Patent”) by

  certain accused inflatable airbed products, as irrelevant and unreliable in violation of Rule 702 of

  the Federal Rules of Evidence. Dr. Singhose identified 92 accused inflatable airbed products in his

  opening expert report as allegedly infringing the ’618 Patent. His opinions regarding certain of

  these products are irrelevant or unreliable for at least three reasons.



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          First, Dr. Singhose accused 12 products which were not offered for sale or sold by TWW

  in the United States during the damages period. The Court should exclude Dr. Singhose’s

  infringement opinions regarding these 12 products as irrelevant under FRE 702. The expert

  testimony of Dr. Singhose as to these 12 products will not help the jury to understand the evidence

  or issues in this case.

          Second, the asserted claims of the ’618 Patent are directed to the interior construction of

  an airbed. For the majority of accused inflatable airbed products, Dr. Singhose failed to examine

  the interior construction of the airbeds. Dr. Singhose failed to cite any sample, product

  specification, website, or other document that showed the interior construction of 47 accused

  inflatable airbed products. The expert testimony of Dr. Singhose as to these 47 products is not

  based on sufficient facts or data and it is not a product of reliable principles and methods that have

  been reliably applied to the facts of this case. Thus, Dr. Singhose has no reliable basis for his

  infringement opinions regarding these 47 products and the Court should exclude his opinions

  regarding these 47 products as unreliable under FRE 702.

          Third, the Court should also exclude Mr. Olsen’s damages opinions relying on Dr.

  Singhose’s infringement opinions as to these disputed products. Any damages opinion offered by

  Mr. Olsen on these products is unreliable as it is based on Dr. Singhose’s flawed opinions.

   II.    BACKGROUND

      A. Asserted Patent

          The Coleman Company, Inc. (“Coleman”) asserts the ’618 Patent in this case. Figures 1

  and 7 of the ’618 Patent are reproduced below.




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  (ECF No. 1-1, ’618 Patent).
  Exemplary claim 1 of the ’618 Patent is copied below.
          “1. An air mattress, comprising:
                   a first panel and a spaced second panel;
                   at least one side panel extending between the first panel and the second
          panel;
                   the at least one side panel, the first panel, and the second panel being joined
          to one another along their common peripheral edges to define an air chamber
          therebetween, the air chamber having a depth measured between the first panel and
          the second panel in the range of from about ten inches to about eighteen to about
          twenty-four inches;
                   at least one mattress coil disposed within said air chamber, said at least one
          coil being affixed to and extending continuously from the first panel to the second
          panel, respectively;
                   a first side support beam extending in the lengthwise direction of the at least
          one side panel, said first side support beam having a first edge affixed to the at least
          one side panel, a second edge affixed to the first panel, and a section between the
          first edge and the second edge where the first side support beam is attached neither
          to said at least one side panel nor the first panel, the first side support beam being
          arranged such that when the air chamber is filled with air, the section of the first
          side support beam is in tension and the first side support beam limits outward
          expansion of said at least one side panel; and
                   a second side support beam extending in the lengthwise direction of the at
          least one side panel, said second side support beam having a first edge affixed to
          the at least one side panel, a second edge affixed to the second panel, and a section
          between the first edge and the second edge where the second side support beam is
          attached neither to said at least one side panel nor the second panel, and the second
          side support beam being arranged such that when the air chamber is filled with air,
          the section of the second side support beam is in tension and the second side support
          beam limits outward expansion of said at least one side panel.”

  (Id.)


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        B. Expert Reports

           For Coleman, Dr. William Singhose submitted an opening expert report on infringement

  of the ’618 Patent, dated July 6, 2021. Also, Mr. Gary Olsen submitted an amended opening expert

  on damages related to infringement of the ‘618 Patent, dated July 23, 2021.1 For TWW, Dr. Glen

  Stevick submitted a rebuttal expert report on non-infringement of the ’618 Patent, dated July 30,

  2021. For Coleman, Dr. Singhose submitted a reply expert report on infringement of the ’618

  Patent, dated August 12, 2021.

  III.     LEGAL STANDARD

           Federal Rule of Evidence 702 states: “A witness who is qualified as an expert by

  knowledge, skill, experience, training, or education may testify in the form of an opinion or

  otherwise if: (a) the expert’s scientific, technical, or other specialized knowledge will help the trier

  of fact to understand the evidence or to determine a fact in issue; (b) the testimony is based on

  sufficient facts or data; (c) the testimony is the product of reliable principles and methods; and (d)

  the expert has reliably applied the principles and methods to the facts of the case.”

           The District Court serves as a “gatekeeper” to determine whether the expert testimony

  admitted into evidence is both relevant and reliable. See Cooper v. Smith & Nephew, Inc., 259 F.3d

  194, 199 (4th Cir. 2001) (citing Daubert v. Merrell Dow Pharm., Inc., 509, U.S. 579, 588 (1993)).

  This gatekeeping role of the Court ensures that “a standard of evidentiary reliability” is maintained

  during trial. Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 149 (1999). District courts have

  considerable leeway in evaluating the reliability of an expert’s analysis, but must focus on the

  expert's underlying methodology, not the expert's conclusion itself. Bresler v. Wilmington Tr. Co.,

  855 F.3d 178, 195 (4th Cir. 2017).



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      Mr. Olsen’s original opening expert report on damages was served on July 6, 2021.
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  IV.    ARGUMENT

     A. Expert testimony related to twelve accused products is irrelevant and should be
        excluded.

         Dr. Singhose identified 92 accused products in his opening expert report on infringement.

  See Exhibit A, Expert Report of William Singhose, Phd. Regarding Infringement of U.S. Patent

  No. 7,089,618, July 6, 2021, Appendix D (hereinafter, “Singhose Opening Report”). Of these 92

  products, Dr. Singhose opined on twelve products that were not offered for sale or sold by TWW

  in the United States during the damages period:

     1. Concierge Collection model no. GR700000141
     2. Concierge Collection model no. GR700000142
     3. Concierge Collection model no. GR700000143
     4. Insta-bed model no. 8404820
     5. JCA model no. JCA-QD35BP
     6. Kelty model no. 77110089
     7. Insta-bed model no. 84000417
     8. Serta model no. 985290221
     9. Serta model no. 98500616
     10. Serta model no. 8503418
     11. Serta model no. ST8400160-Parent
     12. Serta model no. ST840020-T
  See Exhibit B, Expert Report of Dr. Glen Stevick, Ph.D. Regarding Non-Infringement of U.S.

  Patent No. 7,089,618, July 30, 2021, ¶¶ 25-27 (hereinafter, “Stevick Rebuttal Report”).

         Because these products were not offered for sale or sold by TWW in the United States

  during the damages period, these twelve products do not satisfy the standard set forth in 35 U.S.C.

  § 271 for infringement. Dr. Stevick’s statements on these twelve products in the Stevick Rebuttal

  Report are consistent with the discovery produced in this case, primarily TWW’s financial

  documents which did not include sales data for these twelve products. Coleman’s damages expert

  also noted in Schedule 6 of his report that he did not have any sales data for these 12 products,

  which is understandable as TWW had no such data to provide. See Exhibit C, Amended Expert


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  Report of Gary D. Olsen, July 23, 2021, Schedule 2 (hereinafter, “Olsen Amended Opening

  Damages Report”). Moreover, Dr. Singhose did not dispute that these twelve products were not

  offered for sale or sold by TWW in the United States during the damages period in the Singhose

  Reply Report. See generally Exhibit D, Rebuttal Expert Report of William Singhose, Phd.

  Regarding Infringement of U.S. Patent No. 7,089,618, August 12, 2021 (hereinafter, “Singhose

  Reply Report”).

           Because these 12 products do not satisfy the standard set forth in 35 U.S.C. § 271 for

  infringement, these 12 products are not relevant to this case. Testimony from Dr. Singhose as to

  these 12 products risks jury confusion and prejudice to TWW. Accordingly, TWW respectfully

  requests that the Court exclude the opinions of Dr. Singhose related to infringement of the ’618

  Patent by these 12 products as irrelevant. See FRE 702; see also Daubert v. Merrell Dow Pharm.,

  Inc., 509, U.S. 579, 597 (1993).

        B. Expert testimony related to 47 accused products is unreliable and should be
           excluded.

           As discussed above, there are 12 accused products that are irrelevant, leaving 80 accused

  products remaining at issue in this case. See Ex. A, Singhose Opening Report, Appendix D. Of

  those 80 remaining products, Dr. Singhose only examined the interior construction of 33 products

  based on physical samples, product specifications, or other documents identified in his reports. As

  shown by exemplary claim 1 of the ‘618 Patent, supra section II.A., Coleman’s asserted claims

  are directed at the interior construction of an airbed. See, e.g., Ex. B, Stevick Rebuttal Report, ¶

  28.

           But to reliably opine on infringement, a technical expert must rely on sufficient facts or

  data. See FRE 702. As will be discussed below, Dr. Singhose lacked sufficient facts to opine on

  infringement because he failed to examine the interior construction of 47 products:


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     1. Etek City model no. SG00CH21E                      26. Serta model no. ST840014
     2. Etek City model no. SG00CH22E                      27. Serta model no. ST840015
     3. Insta-bed model no. 84002815                       28. Serta model no. 8500714
     4. Insta-bed model no. 84003315                       29. Serta model no. 8504820
     5. Insta-bed model no. 840018G                        30. Serta model no. 85001514
     6. Insta-bed model no. 8404720                        31. Serta model no. 85001614
     7. Insta-bed model no. 840024                         32. Serta model no. 85002314
     8. Insta-bed model no. 840025                         33. Serta model no. 98502815
     9. Insta-bed model no. 9841515                        34. Serta model no. 98503216
     10. Insta-bed model no. 84003215                      35. Serta model no. 98503316
     11. Insta-bed model no. 98400214                      36. Serta model no. ST840017B
     12. Insta-bed model no. 98401614                      37. Serta model no. ST840020
     13. Insta-bed model no. 98401714                      38. Simpli Comfy model no.
     14. Insta-bed model no. 9841815                           8500081140296
     15. Insta-bed model no. 840017BP                      39. Simpli Comfy model no.
     16. Insta-bed model no. 840017W                           8500081140333
     17. Insta-bed model no. 84002815G                     40. Simpli Comfy model no.
     18. Insta-bed model no. 84003115G                         8500081140678
     19. SereneLife model no. SLABTW53                     41. Simpli Comfy model no.
     20. SereneLife model no. SLABFL60                         8500081140692
     21. SereneLife model no. SLABQU69                     42. SimplySleeper model no. SS-89Q
     22. SereneLife model no. SLMFPFL76                    43. SimplySleeper model no. SS-83Q
         (corrected from SLMFPFL75 based                   44. SoundAsleep model no. SAAM-08
         on Olsen Damages Report)                          45. Unknown model no. L840018G
     23. Serta model no. 85002214                          46. Unknown model no. LST840017
     24. Serta model no. 85002714                          47. Unknown model no. LST840018
     25. Serta model no. ST840012


         Testimony from Dr. Singhose as to these 47 products is unreliable and prejudices TWW.

  The asserted claims of the ’618 Patent are directed at the interior construction of an airbed, as

  shown by exemplary claim 1. See supra section II.A. In the context of the asserted claims, in order

  to reliably opine on infringement, Dr. Singhose needed to examine the interior construction of the

  airbed to determine whether the claim elements are present.

         In his opening expert report, Dr. Singhose only examined the interior construction of 27

  products. See Ex. A, Singhose Opening Report, Appendix D, columns 1-6; see also Ex. B, Stevick

  Rebuttal Report, ¶¶ 28-32. In his reply expert report, Dr. Singhose additionally examined the


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  interior construction of 6 products, in response to criticism from Dr. Stevick. See, e.g., Ex. D,

  Singhose Reply Report, ¶¶ 59-60. Thus, Dr. Singhose examined the interior construction of 33 out

  of the 80 airbeds remaining at issue in this case. Dr. Singhose’s examination was based on physical

  samples, product specifications, or other documents such as product webpages having images

  showing the interior construction of the 33 airbeds.

         In contrast, for the other 47 airbeds, Dr. Singhose could only see the exterior view of the

  airbed. Thus, Dr. Singhose was unable to examine the interior structures of the 47 airbeds and

  failed to review any product specifications, images, or other information on the interior

  construction of these 47 airbeds. This examination is not sufficient to opine on infringement in the

  context of the asserted claims. See L & W, Inc. v. Shertech, Inc., 471 F.3d 1311, 1318 (Fed. Cir.

  2006) (“Shertech cannot simply ‘assume’ that all of L & W’s products are like the one [the expert]

  tested and thereby shift to L & W the burden to show that is not the case.”).

                 1. Improper “Representative” Analysis

         Dr. Singhose improperly attempted to use a “representative” infringement analysis of 3

  products and apply that analysis equally to these 47 products. However, exterior-only examination

  of the 47 products is not sufficient under FRE 702. Because Dr. Singhose did not examine the

  interior construction of the 47 products, then he has no reliable basis for opining that his analysis

  of the interior construction of Insta-bed model no. 840016G, Serta model no. ST840018, or

  SoundAsleep model no. SAAM-01, applies equally to any of the 47 unexamined products. See

  Alloc, Inc. v. Pergo, L.L.C., 751 F. Supp. 2d 1049, 1053 (E.D. Wis. 2010), aff’d, 426 F. App’x 909

  (Fed. Cir. 2011) (granting motion for summary judgment of non-infringement based on lack of

  claim limitation when “[Plaintiff] is accusing all 24 sub-brands of infringement [but its expert]

  examined only three of the accused sub-brands”)



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         Further, Dr. Singhose has no reliable basis for concluding there are no material differences

  between any of these 47 products relative to the three examined airbeds or relative to each other.

  “[Plaintiff] cannot simply ‘assume’ that all of [Defendant’s] products are like the one [Plaintiff’s

  expert] tested and thereby shift to [Defendant] the burden to show that is not the case.” L & W,

  Inc. v. Shertech, Inc., 471 F.3d 1311, 1318 (Fed. Cir. 2006).

         Representative analysis is useful to avoid repetition in an expert report, but only so long as

  there is a reliable basis for comparison; here, there is not. “[T]he prohibition against

  allowing ipse dixit testimony by experts merely clarifies that the district court's broad discretion

  includes the discretion to find that there is ‘simply too great an analytical gap between the data and

  the opinion proffered.’” ePlus, Inc. v. Lawson Software, Inc., 764 F. Supp. 2d 807, 813 (E.D. Va.

  2011) (citing collection of cases). Dr. Singhose failed to sufficiently examine 47 out of the 80

  airbeds remaining at issue in this case. See Ex. C, Stevick Rebuttal Report, ¶¶ 55, 60, 63, 65-68,

  70-71, 73-77, 80-81, and 83-86. Accordingly, his opinions should be excluded.

                 2. Improper Reliance on Exterior Features

         Dr. Singhose improperly attempted to justify his infringement opinions based on three

  exterior features of an airbed, which is not sufficient in the context of the asserted claims. Based

  on exterior-only views, Dr. Singhose relied upon three exterior features: (1) a 3-bump shape on

  the side panel, (2) dimpling on the top and/or bottom panels, and (3) dimensions of the airbed. See,

  e.g., Ex. A, Singhose Opening Report, ¶¶ 53-54. None of these external features are recited in the

  asserted claims. As discussed in paragraphs 28-32 of Dr. Stevick’s Rebuttal Report (Ex. B), this

  exterior-only examination is not sufficient because there is no reliable way to conclude whether a

  product with those three exterior features necessarily includes the claimed interior structures.




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         For 47 of the accused products Dr. Singhose relied only on these external features, which

  are not recited in the claims, and not the internal construction of these products. Dr. Singhose’s

  own report provides an example of why relying only on external features is insufficient. In his

  opening expert report, Dr. Singhose cited a website with an image purportedly showing the interior

  construction for an airbed. Ex. A, Singhose Opening Report, ¶ 122 n.2. These images also show

  the same external features that Dr. Singhose relied on for the 47 accused products: 3-bumps,

  dimpling, and 78 x 60 x 19 inch dimensions. However, the website Dr. Singhose cites for this

  product shows a materially different design then what is claimed in of the ’618 Patent. The image

  on the website for this airbed shows an airbed with two interior, middle sheets, thus creating the

  3-bump appearance instead of the “side support beams” of the asserted claims of the ’618 Patent.

  This image also shows an airbed with interior coils, thus creating the dimples.




  Ex. B, Stevick Rebuttal Report, ¶ 30. 2

         During his deposition, Dr. Singhose admitted that based on what is shown, this airbed

  would not infringe the asserted claims of the ’618 Patent. See Exhibit E, Deposition of Dr. William

  Singhose, August 18, 2021, 135:9-11 (hereinafter, “Dep. of Dr. Singhose”). Ultimately, this image


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   The link cited by Dr. Singhose in his Opening Report, and referenced by Dr. Stevick in his
  Rebuttal    Report,    is:   https://www.amazon.com/dp/B084DDQW73?tag=barcodeindex-
  20&linkCode=osi&th=1&psc=1 (JCA model no. JCA-QD35BP).
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  Ex. B, Stevick Rebuttal Report, ¶ 42. Dr. Stevick did not make any representations concerning the

  accused products and the ’618 Patent. Dr. Stevick need not examine or verify the interior

  construction of all accused products for his rebuttal report because it is Coleman, not TWW, who

  carries the burden for proving infringement of the ’618 Patent.

          Second and more importantly, Dr. Singhose cannot base his earlier opinion (dated July 6)

  on statements in a later report by Dr. Stevick (dated July 30). Dr. Singhose had no sufficient bases

  to submit his earlier opinions in his opening expert report dated July 6, 2021. Without sufficient

  bases, Dr. Singhose’s earlier opinions are just the ipse dixit of Coleman’s expert. “[N]othing in

  either Daubert or the Federal Rules of Evidence requires a district court to admit opinion evidence

  that is connected to existing data only by the ipse dixit of the expert.” ePlus, Inc. v. Lawson

  Software, Inc., 764 F. Supp. 2d 807, 813 (E.D. Va. 2011).

         Third, as discussed above, Coleman cannot shift the burden of proof to TWW. See L & W,

  Inc. v. Shertech, Inc., 471 F.3d 1311, 1318 (Fed. Cir. 2006). Dr. Stevick was only tasked with

  responding to the opening expert report submitted by Dr. Singhose. It is Coleman and Dr. Singhose

  who must prove infringement of the ’618 Patent. Starhome GmbH v. AT&T Mobility LLC, 743

  F.3d 849, 858 (Fed. Cir. 2014) (“To prove infringement, the patentee must show that the accused

  device meets each claim limitation, either literally or under the doctrine of equivalents.”).

         TWW respectfully requests that the Court exclude Dr. Singhose’s infringement opinions

  as to the 47 products discussed above as unreliable under FRE 702.

   V.    CONCLUSION

         For at least the foregoing reasons, TWW respectfully requests the Court to exclude and

  strike the expert testimony of Dr. William Singhose related to the 12 products identified herein as

  irrelevant under FRE 702. Specifically, TWW requests the Court exclude and strike references to



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  these 12 products in at least paragraphs 128-129, 193-194, 262, 265, and 266 and Appendix D of

  the Singhose Opening Report.

         TWW also respectfully requests the Court to exclude and strike the expert testimony of Dr.

  William Singhose related to the 47 products, identified herein, as unreliable under FRE 702.

  Specifically, TWW requests the Court exclude references to these 47 products in at least

  paragraphs 54, 128-129, 193-194, 263, 268, 269, 270, and 271-275 and Appendix D of the

  Singhose Opening Report.

         Additionally, TWW also respectfully requests the Court exclude and strike the expert

  testimony of Mr. Gary Olsen regarding damages, which relies upon Dr. Singhose’s infringement

  opinions as to these disputed products. Specifically, TWW requests the Court exclude and strike

  references to the 12 and the 47 products in at least paragraphs 22, 25-28, 46, 53, 55, 56, and

  Schedules 2 and 5-6 of the Olsen Amended Opening Damages Report.



   Dated: November 5, 2021                         Respectfully submitted,

                                                   _/s/ Alexandra M. Gabriel
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                                 CERTIFICATE OF SERVICE
         I hereby certify that I electronically filed the foregoing on November 5, 2021, with the

  Clerk of Court using the CM/ECF system, which will send a notification of such filing to all

  registered users.

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